Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 1 of 20




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case No.

  MARISELA MATA and BIBIANA
  HERNANDEZ, as individuals and
  on behalf of all others similarly situated,

          Plaintiffs,



  TRIVAGO GmbH, a German limited
  liability company,

         Defendant.




                         CLASS ACTION COMPLAINT FOR DAMAGES
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 2 of 20




         Antonio Mata   y   Alvarez built the Hotel San Carlos in the historic center of Cienfuegos,

  Cuba in 1925. He and his son ran it and built up its good   will   and fame until Fidel Castro seized

  power and established a communist government in Cuba, which confiscated the San Carlos from

  the Mata family. The communist Cuban government-and more recently, the Meli6 hotel

  chain-has used and benefitted from the     San Carlos for decades without paying the Mata      family

  any compensation. Trivago GmbH ("Trivago"), a subsidiary of Expedia, Inc., also has benefitted

  from the San Carlos-and scores of properties like     it-by   providing booking services for those

  properties online and receiving compensation in the form of commissions, fees, and other

  remuneration for those services. The Matas now sue to recover for defendant's unlawful

  trafficking in their property and for just compensation for themselves and a class of similarly

  situated persons.

                                            THB ACTION

          l.     Marisela Mata and Bibiana Hernandez (the "Mata l-leirs"), on behalf       of
  themselves and a class of similarly situated persons, sue defendant Trivago, and have given 30-

  day notice of intent to sue the other Expedia Entities, and the Booking.com Entitiesl under the

  Cuban Liberly and Democratic Solidarity Act, 22 U .S .C. $ 602 1 , et seq. (the   "LIBERTAD Act"),

  for unlawful trafficking in their confiscated property in Cuba.




  I Under 22U.5.C.
                   $ 6082(a)(3), the Mata Heirs have, contemporaneously with this       filing, given
  notice to Expedia, Inc., together with its affiliates Hotels.com L.P., Hotels.com GP, LLC, Orbitz,
  LLC, Travelocity.com, LP (collectively, including defendant Trivago, the "Expedia Entities"), as
  well as Booking Holdings Inc., and Booking.com B.V. (collectively, the "Booking Entities"), of
  their intent to add them as defendants to this lawsuit if they do not prornptly compensate the
  Mata Heirs and the class for the unlawfll trafficking of their property.


                                                    2
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 3 of 20




                                           THE PARTIES

         2.      Marisela Mata is a natural person and United States citizen who resides in Miami,

  Florida.

      . 3.       Bibiana Hernandez is a natural person and United States citizen who resides in

  Miami, Florida.

         4.      Defendant Trivago GrnbH, an affiliate of Expedia, Inc., is a German limited

  liability company headquartered in Drisseldorf, Germany, with offices in New York, New York.

                                   RELEVANT NON-PARTIES

         5.      Corporaci6n de Comercio y Turismo Internacional Cubanac6n S.A.

  (','Cubanacan") is a state-run company incorporated in Cuba which owns various hotel properties

  in Cuba, and which, together with several foreign hotel chains, operates those hotels, which are

  available to be booked on websites operated by defendant.

         6.      Grupo de Turismo Gaviota S.A. ("Gaviota") is a state-run company incorporated

  in Cuba which owns various hotel properties in Cuba, and which, together with several foreign

  hotel chains, operates those hotels, which are available to be booked on websites operated by

  defendant.

         7.      Grupo Hotelero Gran Caribe ("Gran Caribe") is a state-run company incorporated

  in Cuba which owns various hotel properties in Cuba, and which, together with several foreign

  hotel chains, operates those hotels, which are available to be booked on websites operated by

  defendant.

         8.      Cubanacan, Gaviota, and Gran Caribe    will   be referred to in this complaint as the

  "Cuban Entities."




                                                  a
                                                  J
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 4 of 20




                 9.         Meli6 Flotels International S.A. ("Meli6"), operates, directly or indirectly, at least

  34 hotels in Cuba.

                 10.        Iberostar Hotels and Resorts ("Iberostar") operates, directly or indirectly, at least

  20 hotels in Cuba.

                 1L         Blue Diamond Hotels & Resorts ("Blue Diamond") operates, directly or

  indirectly, at least l8 hotels in Cuba.

                 12.        Be Live Hotels ("Be Live") operates, directly or indirectly, at least 8 hotels in

  Cuba.

                 13.        Barcel6 Hotel Group ("Barcel6") operates, directly orindirectly, at least 3 hotels

  in Cuba.

                 14.        Meli6, Iberostar, Blue Diamond, Be Live, and Barcel6 will be referred to

  collectively in this complaint as the "Hotel Operators."

                 15.        In addition to the Hotel Operators listed above, other hotel chains operate at least

  13 other hotels            in Cuba.

                                                 JURISDICTION AND VENUE

                 16.        This Court has subject matter jurisdiction of this action under 28 U.S.C. $   l33l
  because this action arises under the               LIBERTAD Act (22 U.S.C. $ 6082), and the amount in

  controversy exceeds $50,000, excluding interest, costs, and attorneys' fees.

                 17   .     This Court has personal jurisdiction over Trivago under Fla. Stat. $$

  48. I 93   (   1   XaX I ), 48. I 93 ( I )(aX6), and 48. I 93 (2).

                 18.        Venue is proper in this District under 28 U.S.C. S 1391(aX 1), because Trivago is

  deemed to be aresident of the Southern District of Floridaunder28 U.S.C. S$ 1391(c)(2) and

  (d)




                                                                       4
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 5 of 20




                                        THE LIBERTAD ACT

          19.    In   1996, in response to the communist Cuban government's murder of four

  civilian pilots performing humanitarian work with the Cuban-American group Brothers to the

  Rescue, Congress passed the LIBERTAD Act to strengthen sanctions against the communist

  Cuhan government and deter the exploitation of wrongfully confiscated property in Cuba

  belonging to U.S. nationals.

         20.     Title III of the LIBERTAD Act provides U.S. nationals whose property in Cuba

  had been confiscated by the communist Cuban government with a right of action against those

  who traffic in that property. 22 U.S.C. $$ 6081-6085.

         21.     The LIBERTAD Act defines a person who "traffics" in confiscated properly, inter

  alia, as one who:

         knowingly and intentionally-

         (i)     Sells, transfers, distributes, dispenses, brokers, manages, or otherwise
                 disposes ofconfiscated property, or purchases, leases, receives possesses,
                 obtains control of, manages, uses, or otherwise acquires or holds an
                 interest in confiscated property,

         (ii)    engages in a commercial activity, using or otherwise benefiting fi'om
                 confi scated property, or

         (iii)                                                   trafficking . . . by another
                 causes, directs, participates in, or profits from,
                 person, or otherwise engages in trafficking through another person

         without the authorization of any United States national who holds a claim to the
         property.

  22U.5.C. $ 6023(13).

         22.     Since the   LIBERTAD Act's     passage more than twenty years ago, successive


  United States Presidents suspended the right of action provided by Title III of the Act. On May

  2,2019, that suspension was not renewed. The Mata Heirs and the class members are now

  permitted to file suit under the LIBERTAD Act.



                                                     5
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 6 of 20




                                       FACTUAL ALLEGATIONS

  A.      TIre Ssn Carlos

          23.     In June 1925, Antonio Mata y Alvarezbuilt and established the Hotel San Carlos

  (the "San Carlos") located at Calle de San Carlos, No. 143, Cienfuegos, Cuba. He operated the

  San Carlos for nearly 32 years, building its reputation so that it was regarded as the leading hotel

  in the historic center of Cienfuegos.

          24.     On January 4,7959, Antonio Mata y Alvarez died intestate in Cuba. Ownership       of
  the San Carlos passed to his only heir, his son, Antonio Alberto Lazaro Mata.

         25.      On December 4, 7962, the communist Cuban government confiscated the San

  Carlos from Antonio Alberlo Lazaro Mata.

         26.     Around 1984, the communist Cuban government abandoned and closed the San

  Carlos, which fell into disrepair.

         27.     In 2005, the Cuban government began renovating the San Carlos. That work

  continued for more than a decade. The San Carlos was re-opened on January 14,2018, as the

  Meli6 San Carlos.

  B.     Succession Rights to tlte San Carlos

         28.     Antonio Alberto Lazaro Mata died on August 25,7979, in Cienfuegos, Cuba, and

  was survived by his wife and two children, Antonio Barbaro Mata and Marisela Mata. Upon his

  death, ownership of the San Carlos passed by operation of Cuban law to Antonio Barbaro Mata

  and Marisela Mata, in equal parts.

         29.     Antonio Barbaro Mata and Ms. Hernandez were married in Miami in 1985.

         30.     Antonio Barbaro Mata passed away intestate on August 16,2000, and his half

  ownership of the San Carlos passed by operation of Florida law to Ms. Hernandez.




                                                   6
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 7 of 20




         31.     As of the time of filing this lawsuit, the Mata Heirs-Ms. Mata and Ms.

  Hernandez-are the rightful owners of the San Carlos, which is being trafficked by Gran Caribe,

  Meli6, and the Booking and Expedia Entities, including defendant Trivago, under the name

  Meli6 San Carlos.

  C,     I)efenrlnnt, togelher with the Cuhan Entities and the Hotel Operators, Has Trafficked
         the Hotel Witltout Compensoting the Muta Heirs

          32.    Neither the communist Cuban government, the Cuban Entities, the Hotel

  Operators, nor Trivago, has ever paid-and the Mata Heirs have never received-any

  compensation whatsoever for the trafficking of the San Carlos.

          33.    The Mata Heirs were not eligible to file a claim with the Foreign Claims

  Settlenrent Commission under Title V of the International Claims Settlement Act of 1949 (22

  U.S.C. S 1643 et seq.), because they were not U.S. citizens at the time the property was

  confiscated.

         34.     The San Carlos has not been the subject of a certified claim under Title V of the

  International Claims Settlement Act of 1949 (22 U.S.C. $ 1643 et seq.).

  D.     Tlre Joint Venture

         35.     The Cuban Entities and the Hotel Operators operate a number ofjoint ventures by

  which they receive, possess, obtain control of, manage, use, or otherwise acquire or hold an

  interest in confiscated property and engage in commercial activity involving the use of or

  otherwise benefitting from confiscated property. One of these properties is the iconic San Carlos.

         36.     Apalt from the real property itself, Trivago, Gran Caribe, and Meli6 also

  trafficked in the San Carlos' name, its good will, and the legacy built up by the Mata family.

         37.     To attract guests, defendant Trivago, Gran Caribe, and Meli6 traffic not only the

  San Carlos' physical structure, but also its trade name, goodwill, legacy, and storied history, all




                                                    7
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 8 of 20




  of which are the result of the Mata family's efforts over decades. For example, Meli6's websites

  extoll the facts that the San Carlos was "[o]pened in 1925" and served as "the city's main hotel

  throughout the first half of the 20th century."2

  E.        The Expedia Entities

           38.    Expedia, Inc. ("Expedia"), owns the travel booking brand expedia.com and is the

  corporate parent of many other travel booking brands, including defendant Trivago (and

  Hotels.com L.P., Hotels.com GP, LLC, Orbitz, LLC, and Travelocity.com, LP). Expedia's

  corporate filings disclose 21 subsidiaries or affiliates, through which it maintains more than 200

  travel booking sites in more than 70 countries, and through which it offers more than 1 million

  properties for rent.




  2
      See htto:l/www.me   acuba.co m/cuba-hotels/hotel -mel ia-sancarlos.


                                                     8
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 9 of 20




                                            c                  expedio
                                                               group"



     EExpedio'                          ffi Hoters.com g?:-q:13,',1'p                                     1'1,.#rj                              EGENCIA                          tri-v*go
     lhr
     -'h li{)'tr} -'.'./.:)         AREtnZ                     ,"i Lrzrvelucity   hetwire      'ir':r'ir4!"rn-   *l:**tt;t:,t,      '          @fieapllc*ats                "l{Ill1g:",,n
     *l;Hf,0".,               {:;it,.:..,,.1'..:   .,t.., Qffiii.,, *              ill ,',,',' .      traveldsJl                r#r,iririir: .,,,.: ;;          l      '|f!:{   s*vtarzti.

                                                                   GLOBAL PRTSENCE

                                                                                                                                                A E5/
     .r!1';: ' 2OO+ TRAVTL                                                                                                                     tJ  /O
                                                                                                                          a:
                   BOCKING                         SITES                                                                                ,i:
                                                                                                                          1! ... ....:::.a.i   lnternolionql Revenue
                  in 70+ Couniries                                                                                                             Fuil Yeflr    20:i]


                  h,1CRE THAI'.I
                  1 lr'.,1 3                                                                                             rft       x$;         :a,Cn0+ FMPL"OYIFS
                  TRANSACTIONS                                                                                             ff ii               in More Thcln 30 Counlries
                  booked             vicr      mobile                                                                                          Asal l2/:tl/lB




                                                                                    SUPFLY
                                                                                                                                                 .afu*

                                                                                                                                                 at+lil'
                                                                                                                                                1l:#:i111




             lM+                                                                                                                                                           l.BM+
          Properlies                               Airlirres                 Aclivilies                Renlol Cor                       ol Cruise Lines              HorneAwoy Online
                                                                                                      Componies                                                      Bookoble Lislings


                                                                       FU LL         YEAR 20 I B

                                                     in Gross                     ,.,. .   '




                                                                                               Revenue

                                                                                                                                                            Room



                   txpeciio Group          is c public hacJed compony lisled under lhe ticker 3ynrbol EXPE orr the I.IASDAQ GloDol Morkel
                                   All iotcr rrotion os of l]ecember 31, 2018, uniess oit)eD./lse sDeciiie.J. a9r20l9 by ExpecJic. lnc.




  https ://www. expedi asroup.com/aboLlt/

              39.                According to Expedia's most recent 10-K, defendar.rt Trivago and the other

  Ilxpeclia Entities "rrake travel prodlrcts and services available both on a stand-alone and package



                                                                                                      9
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 10 of 20




   basis, primarily through the following business models: the merchant model, the agency model

   and the advertising model." Expedia, Inc. Annual Report (Form 10-K) (Feb. 1 4,2018) at 5.

           Under the merchant model, we facilitate the booking of hotel rooms, airline seats,
           car rentals and destination services from our travel suppliers and we are the
           merchant of record for such bookings. The majority of our merchant transactions
           relate to hotel bookings. Under the agency model, we facilitate travel bookings and
           act as the agent in the transaction, passing reservations booked by the traveler to
           the relevant travel provider. We receive commissions or ticketing fees frorn the
           tlavel supplier and/or traveler.

                                              *       {<      *

           Under the advertising model, we offer travel and non-travel adverlisers access to a
           potential source of incremental traffic and transactions through our various rnedia
           and advertising offerings on trivago and our transaction-based websites.

   Id. at 5-6.

            40.    When defendant Trivago and the other Expedia Entities operate under the

   merchant model, customers "pay [defendant Trivago and the other Expedia Entities] for

   merchant hotel transactions prior to departing on their trip, generally when they book the

   reservation." Id. at F-10. As to how defendant Trivago and the other Expedia Entities profit from

   this model, they "generally contract in advance with lodging providers to obtain access to rooms

   at negotiated rates" then re-sell the rooms to its customers at a profit.   Id. atF-11.

           41.    When defendant Trivago and the other Expedia Entities operate under the agency

   model, they "act as the agent in the transaction, passing reservations booked by the traveler to the

   relevant travel provider" and "receive commissions or ticketing fees from the travel supplier

   and/or traveler," Id. atF-10.

           42.    Defendant Trivago and the Expedia Entities all provide online booking services

   lbr hotels in Cuba, including those operated by the Hotel Operators and others. Defbndant

   Trivago off-ers bookings at atotal of 125 properties in Cuba, including l6 Blue Diamorrd




                                                     10
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 11 of 20




  properties, 4 Iberostar properties, 32Me1i6 properties, 3 Be Live properties, and 3 Barcel6

  properties. One of the offered Meli6 properties is the San Carlos:




                                                                                                   triwergo
                                                                                       iliert-ln                 aherli-rut                             fsc+
                                                                                 l'l                                                            a--;.   TBo-pelsor r0onl

   Price / night                                            s.'rte'     Accomm0dati0n                     GIest rating        Hotel lccatlon                               More iilt€rs

                                                                        .qll lypBs                        Alt                 Ciiy aljrltBr



                     Q view map                                                                                                           Sort      by    +ilr r*iromnrBncallo'rs                                v
                                                                                                                                                         l'ia,l   ;l:jtl:.lill    :i]   r;::   *l:.r:l ral:il:ri; (]


    ResUiis   for'ifivego"

                                          La Union Managed By Melia s International                                              +?1,a,:cn                                .qrilrii: iirr           S267
                                                                                                                                     s1:.1
                                          ...r:: :!:   ri t-lolel
                                                                                                                                  i:i,.   !a.il:n                                SaDliN!.rar:]
                                                                                                                                     Slla
                                    1 I                Ci"nluugss.        U     3 {ril*s 10 City cenler
                                                                                                                                lii:i-:      a.,r:
                                                                                                                                                                                   $142
                                                                                                                                     51:'l
                                           ffi          cooa f217 revi€*,si
                                                        Excellenl localion . Very clea,l                                      More d€nls hoRl
                                                                                                                                  5134        v

                                          Meliii San Carlos                                                                      li?lra      irn
                                                                                                                                     5'145
                                          ': ,f :i:    ;:   Holet     i.l?,'.                                                                                                Book:ng.coFl

                   ..,i.                                                                                                             s15'-l
                                                                                                                                                                                   {{ q'l
                                             Q         Cienluegos, 0.3 lnites tB City center
                                                                                                                                iiitI.:I!:   aaiiil
                                                                                                                                     s'r 53
                                           {[)          very gooo l2B r€vievl'si
                                                                                                                              More deals fr0n1
    'lrfl                                                                                                                         5145 v


    lnfo PhBto5 Revrews           geals                                                                                                                                                                         x


       Location




                                                                                                    11
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 12 of 20




                            CLASS REPRESENTATION ALLEGATIONS

           43.     Under Fed. R. Civ. P. 23, the Mata Heirs bring this suit and seek class

   certification of the claim alleged here, and a damages judgment against defendant for themselves

   and the class members.

           44.     The class is defined as follows and consists of:

           All U.S. nationals             at22U.S.C. $ 6023(i5)) who own property (as defined at
                                (as defined
           22 U.S.C. S 6023(12)) in Cuba that was expropriated by the government of Cuba prior to
           Marclr 12,1996, and has been trafficked by Trivago without prior authorization of, or
           absent compensation to, such U.S. nationals, where such U.S. national was not eligible to
           file a claim with the Foreign Claims Settlement Commission under Title V of the
           International Claims Settlement Act of 1949 (22 U.S.C. $ 1643 et seq.), and no certified
           claim to the property exists.

           This class definition excludes (a) defendant, its officers, directors, management,
           employees, parents, subsidiaries, and affiliates; and (b) any judges or justices involved in
           this action and any members of their immediate families.

  A.       Federsl Rule of Civil Procedure 23(a)

           45.     Fed. R. Civ. P. 23(a) provides for class certification where the representative

   plainti ffs demonstrate that:

                   1.      the class is so numerous that joinder of all members is impracticable;

                   2.      there are questions of law or fact common to the class;

                   3.      their representative claims or defenses are typical of the claims or defenses
                           of the class; and

                   4.      they will fairly and adequately protect the interests of the class.

           (l)     Numerosity

           46.     On information and belief, the class consists of hundreds of persons. Defendant

   Trivago and the otherExpediaEntities offerthousands of rooms and dozens of hotels in Cubafor

   bookir.rg, all of which (or the property on which those hotels sit) were confiscated from their

   rightfLrl owners by the communist Cuban government. Defendant Trivago's website offers




                                                     12
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 13 of 20




   booking for rooms in 48 such hotels run by Melia (32), Blue Diamond (16), Iberostar (4), Be

   Live (3) and Barcelo (3), which renders joinder of the original owners (and their heirs)

   impracticable.

           (2)      Commonality

           47   .   The Mata Heirs and the class have claims that raise common questions of law or

   fact.

           48.      This is an action in which the Mata Heirs and the class members assert claims

  alleging the same theory of recovery, namely, that they are entitled to damages fiom the

  defendant for its wrongful trafficking of their property.

           49.      The Mata Heirs' and class members' claims arise from the same practice or

  course of conduct: defendant's trafficking of confiscated properties used in the hospitality and

  tourism industry for its own economic gain.

           50.      The Mata Heirs' and class members' damages were caused by the same practice

  or course of conduct: defendant's unlawful trafficking in their property without prior

  authorization or compensation to the rightful owners.

           5l   .   The Mata Heirs and class members' claims raise common questions of law or

  fact, including, but not limited to, whether:

                    a      The communist Cuban government nationalized, expropriated, or seized
                           property without providing the owners with adequate or effective
                           compensation;

                    b.     The confiscation of property occurred before March 12,1996;

                    c.     Defendant trafficked in that confiscated property; and

                    d      Defendant knew or had reason to know that the trafficked property had
                           been confiscated.




                                                    13
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 14 of 20




          (3)      Typicality

          52.      The Mata Heirs' claims are typical of class member claims because they are based

   on the same legal theory, arise from a similar core set of facts, and are not subject to any unique

   defenses. Members of the class have sustained, and    will continue to sustain, damages in the same

   manner as the Mata Heirs as a result of defendant's conduct.

          (1)      Aclequacy of Representation

          53.      The Mata Heirs and their counsel will fairly and adequately protect and represent

   the interest of the class members.

           54.     The Mata Heirs are members of the class defined above. As representative

   plaintiffs, they are committed to the active and vigorous prosecution of this action and have

   engaged competent counsel experienced in litigation of this nature, who possess the resources

   and commitment to vigorously prosecute this case to a successful resolution.

          55.      There is no hostility of interests between the Mata Heirs and other class members.

   The Mata Heirs have no claims that are antagonistic to the claims of other class members, and

   reasonably anticipate no difficulty in the management of this litigation as a class action.

   B.     Federul Rule of Civil Procedure 23(b)

          56.      This class action is maintainable under Rule 23(b)(3).

          (l)      Predominance

          57   .   In tliis case, common liability issues of law and fact predominate over any

   lrypothetical or potential individualized issues, because the Mata Heirs' and class members'

   claims arise fi'om a common nucleus of operative fact and share, among otherthings, the

   comlnon issues of law and fact set forth above. The predominant common issue in this action is

   whether def-endants knew. or had reason to know, that they trafficked in confiscated property.




                                                    14
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 15 of 20




            (2)    Superiority

            58.    A class action is superior to other available methods for the fair and efficient

  adjudication of this litigation because it is the most manageable and efficient way to resolve the

  individual claims of each class member.

            59.    Specifically, a class action will provide class members with what may be their

  only economically viable remedy. Moreover, there are no known class members who are

  interested in individually controlling the prosecution of separate actions. In addition, a class

  action   will concentrate all litigation in one forum, which will   conserve   judicial and party

  resollrces with no unusual manageability problems.

  C.       National Issues Class under Fed. R. Civ. P. 23(Q@)

           60.     In the alternative, the Mata Heirs seek to bring and maintain a national issues

  class under Fed. R. Civ. P. 23(c)@).

           61.     Rule 23(c)(4) provides that an action may be brought or maintained as a class

  action with respect to particular issues when doing so would materially advance the litigation as

  a whole.


           62.     In order to materially advance this litigation, the Mata Heirs bring this action on

  behalf of themselves and the Class Members to resolve several critical, class-wide issues,

  including whether:

                   a.      defendants entered into a joint venture or other contractual arrangement
                           that arranged for the use of confiscated properly;

                   b       defendants engaged in a commercial activity using or otherwrse
                           benefitting from the use of confiscated property;

                   c       defendants sold, transferred, managed, used, or acquired an interest in
                           confiscated property; and

                   d       delendants knew or had reason to know that the property they used or
                           benefitted from was confiscated.



                                                     l5
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 16 of 20




           63.     The Issues Class is properly brought and should be maintained as a class action

   under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality,

   typicality, and adequacy because:

                   a.      Numerosity: Individual joinder of the Issues class members would be
                           wholly impracticable. There are hundreds of persons throughout the
                           United States whose property was confiscated by the communist Cuban
                           government and in which defendants traffic. Thus, the numerosity element
                           fbr class certification is satisfied;

                   b       Commonality: Questions of law and fact are common to the Issues class
                           mernbers' claims. As this is an issues class under Rule 23(c)(4), there are,
                           by definition, common questions of law applicable to all class members'
                           clairns:

                   \,     Typicality: The Mata Heirs' claims are typical of Issues class members'
                          claims because all the claims arise from the same course of conduct by
                          defendants, i.e., defendants' trafficking in confiscated property. Therefore,
                          the Mata Heirs' claims are typical of the issues class members' claims;

                   d.     Adequacy: The Mata Heirs will fairly and adequately represent and protect
                          the interests of the Issues class members. The Mata Heirs' interest in
                          vindicating their claims is shared with all Issues class members, and there
                          are no conflicts between the named plaintiffs and putative Issues class
                          members. Further, Plaintiffs are represented by counsel who are
                          competent and experienced in class action litigation, have no conflicts, and

           64.     This issues class also is maintainable under Rule 23(b)(3) because common

   liability issues of law and fact predominate over any hypothetical or potential individualized

   issues. The Mata Heirs' and issues class members' claims arise from a common nucleus         of

   operative fact and share, among other things, the common issues of law and fact set forth above.

   The predorninant common issue in this action is whether defendants knew, or had reason to

   know, that they trafficked in confiscated property. A class action is superior to other available

   methods for the fair and efficient adjudication of this overarching issue, and this litigation,

   because class treatment aflords the most manageable and efficient way to resolve the individual

   claims of each Issues classmember. Class treatment will provide Issues class members with what




                                                     16
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 17 of 20




  may be their only economically viable remedy. Moreover, there are no known Issues class

  members who are interested in individually controlling the prosecution of separate actions. In

  addition, a class action will concentrate all litigation in one forum, which will conserve judicial

  and party resources    witli no unusual manageability problems

                                         CAUSE OF ACTION

                                               COUNT I
                         Private Rieht of Action Under 22 U.S.C.     S   6082(aXl)

           65.    The Mata Heirs incorporate by reference paragraphs 7 t"o 64 as if fully set forlh

  here.

           66.    This clairn is brought under Title III of the LIBERTAD Act,22 U.S.C. $ 6082.

           67.    Defendant is a "person" as definedby 22 U.S.C. $ 6023(l l).

           68.    The Mata Heirs and the class members had their property confiscated by the

  communist Cuban government.

           69.    Defendant has trafficked in Property as defined by 22 U.S.C. $ 6023(12),

  specifically the San Carlos and other hotels in Cuba, by offering rooms in those hotels on its

  website, for economic gain, from which defendant has benefitted.

           70.    Defendant has conducted this trafficking "without the authorizalion of any United

  States national who holds a claim to the property" (22 U.S.C. $ 6023(13)), in violation of Title

  III of the LIBERTAD Act.

           71.    Accordingly, the Mata Heirs and class members are entitled to damages to be

  deterrnined under 22 U .S .C. $ 6082(a)( 1 XAXi), together with attorneys' fees and costs under 22

  u.s.C.   $ 6082(aX1   XAXii).




                                                   17
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 18 of 20




                                        PRAYER FOR RBLIEF

           WHEREFORE, the Mata Heirs, individually and on behalf of the class members, demand

   the following relief:

           a)      A finding that this action satisfies the prerequisites for maintenance of a class
                   action under Federal Rule of Civil Procedure23(a) and (b)(3), and certification of
                   the class defined above;

           b)      Designation of the Mata Heirs as representatives of the class and their
                   undersigned counsel as class counsel; and

           c)      A judgment against defendant that

                                 Awards actual damages in an amount to be determined tnder 22
                                 U.S.C. $ 6082(a)(lXAXi);

                           ll    Awards reasonable attorneys' fees and costs incurred in this action
                                 under 22U.5.C. $ 6082(a)(lXAXii);

                                 Awards appropriate post-judgment interest; and

                           IV    Grants such other relief as the Court deems just and proper

   Dated: June 18,2019

                                                 Respectfully submitted,

                                                 RIVERO MESTRE LLP
                                                 2525 Ponce de Leon Blvd., Suite 1000
                                                 Coral Gables, Florida 33134
                                                 Telephone: (305) 445 -2500
                                                 Facsimile: (305) 445 -2505
                                                 E-mail : arivero@riveromestre.com
                                                 E-mail : j mestre(@riveromestre. com
                                                 E-mail : arolnick(@riveromestre.com
                                                 E-mail : crodriguez@riveromestre.com


                                         By
                                                 AND
                                                 Florida Bar No. 61 3 81 9
                                                 JORGE A. MESTRE
                                                 Florida Bar No. 88145
                                                 ALAN II. ROLNICK
                                                 Florida Bar No. 715085



                                                    l8
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 19 of 20




                                     CARLOS A. RODRIGUEZ
                                     Florida Bar No. 0091616

                                     MANUEL VAZQUEZ,P.A.
                                     2332 Galiano St., Second Floor
                                     Coral Gables, Florida 33134
                                     Telephone: (305) 445 -2344
                                     Facsimile: (305) 445 -4404
                                            MV        vazlaw.com

                               By:
                                                 AZQUEZ
                                     Florida    No. 132826




                                       19
Case 1:19-cv-22529-CMA Document 1 Entered on FLSD Docket 06/18/2019 Page 20 of 20
